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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

JOHNNY JOHNSON, et al.,

      Defendants.                                         No. 04-CR-30029-DRH


                                     ORDER


HERNDON, District Judge:

            Now before the court is defendant Johnny Johnson’s Fifth Motion to

Continue Sentencing (Doc. 298). In light of defendant Johnson’s agreement to

provide testimony for the government at the trial of Quawntay Adams and the most

recent continuance of this trial until August 20, 2007, defendant Johnson wishes to

continue sentencing until at least thirty (30) days after the conclusion of the

Quawntay Adams trial. Therefore, the Court GRANTS Johnson’s Motion to Continue

(Doc. 298). The Court CONTINUES the sentencing hearing for defendant Johnny

Johnson scheduled for April 20, 2007 to Friday, October 26, 2007 at 9:30 a.m.

            IT IS SO ORDERED.

            Signed this 20th day of March, 2007.


                                                    /s/       David RHerndon
                                                    United States District Judge
